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UNITED STATES DISTRICT COURT United States Oistrlet Court

SOUTHERN DISTRICT OF TEXAS Southern District of Texas
HOUSTON DIVISION
DEC 1 6 2013
Errick Lynn Williams and §
Kristin Barnes Williams, § David J. Bradley, Clerk of Court
§
Plaintiffs, §
§ Civil Action No.
v. §
§
Peggy Fulford, a/k/a Peggy Williams, §
a/k/a Peggy King, a/k/a Peggy § ORAL ARGUMENT REQUESTED
Ann Berard and §
King Management Group and §
Associates, LLC §
§
Defendants. §

PLAINTIFFS’ VERIFIED ORIGINAL COMPLAINT AND
APPLICATION FOR TEMPORARY RESTRAINING ORDER

AND PRELIMINARY INJUNCTION
TO THE HONORABLE JUDGE OF THIS COURT:

Plaintiffs Errick and Kristin Williams (collectively, “Plaintiffs”) file this Verified
Complaint and Application for Temporary Restraining Order and Preliminary Injunction (the
“Complaint’) against Peggy Fulford, a/k/a Peggy Williams, a/k/a Peggy King, a/k/a Peggy Ann
Berard, (“Ms. Fulford”) and King Management Group and Associates, LLC (“King

Management”), and would respectfully show the Court as follows:

I. INTRODUCTION
1. Errick Lynn Williams (‘“Mr. Williams”) is a recently retired professional football

player. Mr. Williams played professional football from 1999 until 2011. Mr. Williams is
married to Kristin Barnes Williams (“Mrs. Williams”). In 2007, Mr. Williams engaged Ms.

Fulford and King Management (collectively, “Defendants”) to manage all of his finances and

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investments. Since 2007, Ms. Fulford has had control over the vast majority of Plaintiffs’
income, which before taxes totaled at least eleven million dollars. Over the course of their
financial relationship, Defendants have provided Plaintiffs with sporadic and potentially falsified
statements of their financial condition. Plaintiffs have repeatedly requested that Defendants
provide them with full and open access to their assets. Defendants have repeatedly failed to do
so.

Il. PARTIES

2. Plaintiff Errick Lynn Williams is an individual domiciled in Travis County,
Texas.

3. Plaintiff Kristin Barnes Williams is an individual domiciled in Travis County,
Texas.

4, Defendant Peggy Fulford a/k/a Peggy Williams, a/k/a Peggy King, a/k/a Peggy
Ann Berard, is an individual believed to be domiciled in Ft. Lauderdale, Florida. Ms. Fulford
may be served with process, with issuance of citation being requested at this time, by serving her
at 2841 NE 35" Court, Ft. Lauderdale, Florida 33308, or at such other place where she may be

found.

5. Defendant King Management Group and Associates, LLC is a limited liability
company organized under the laws of the State of Florida with its principal place of business in
Ft. Lauderdale, Florida. King Management may be served through its registered agent for
service and managing member, Peggy Fulford, at its registered office, 2805 E. Oakland Park

Blvd. #247, Ft. Lauderdale, Florida 33306.

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I. JURISDICTION AND VENUE

6. The Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332(a)(1) because
Plaintiffs and Defendant are citizens of different U.S. states, and the amount in controversy

exceeds $75,000.00, excluding interest and costs.

7. Venue is proper in the Court under 28 U.S.C. § 1391(b)(2) because a substantial
part of the events or omissions giving rise to this claim occurred in this district. From 2011 until
2013, Ms. Fulford resided in Harris County, Texas. During that period, Ms. Fulford accessed
monies earned by Mr. Williams and, inter alia, fraudulently spent or transferred such monies to

several accounts for her personal benefit.
IV. FACTUAL BACKGROUND

8. Mr. Williams is the second Heisman trophy winner from the University of Texas
and a recently retired professional football player. He is currently employed as an analyst for
ESPN’s Longhorn Network and an assistant coach at University of the Incarnate Word in San
Antonio.

9, In 2007, Mr. Williams entered into an oral agreement to have Ms. Fulford and
King Management manage Plaintiffs’ assets. Prior to, and consistently throughout the course of
managing Plaintiffs’ assets, Ms. Fulford represented herself to be a graduate of Harvard Law
School, licensed to practice law in the State of Texas, and a graduate Harvard Business School.
Upon information and belief, there is no record of Ms. Fulford attending Harvard University in

either graduate program, nor is there any record of Ms. Fulford’s admission to the State Bar of

Texas.

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10. Between 2007 and 2012, Mr. Williams earned income of approximately eleven
million dollars. On or about August 15, 2008, Ms. Fulford and Mr. Williams established a joint
checking account (the “Joint Account”) at SunTrust Bank in Orlando, Florida. Without the
knowledge or permission of Plaintiffs, Ms. Fulford received and used a debit card for the Joint
Account. Plaintiffs were never provided a debit card for the Joint Account. After opening the
Joint Account, Ms. Fulford established at least six other accounts at SunTrust Bank under several
different names, including King Management.

11. Between opening the Joint Account and August 2012, approximately six million
dollars was transferred via account transfers, wire transfers, check card debits, written checks, or
cash withdrawals out of the Joint Account by Ms. Fulford, without Plaintiff's authorization or
knowledge. These transfers included, but were not limited to, mortgage payments, credit card
payments, retail purchases, airline purchases, miscellaneous debits and withdrawals, transfers via
written checks, and wire transfers to unidentified accounts. From 2011 until 2013, Ms. Fulford
resided in Harris County, Texas, and a substantial amount of the unauthorized transfers occurred
in that period.

12. In 2013, Plaintiffs discovered these unauthorized transfers. Upon discovery, Mrs.
Williams made repeated attempts to contact Ms. Fulford, seeking information concerning
Plaintiffs’ assets. On or about September 2013, Ms. Fulford ceased all communications with
Mrs. Williams.

13. Mr. Williams’s 2010 personal income tax return was prepared by Ms. Fulford.
On or about August 2012, the Internal Revenue Service (“IRS”) audited Mr. Williams’s 2010

personal tax return and contacted Mr. Williams for additional information (the “2010 audit’).

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14. Upon information and belief, on or about September 2012, Ms. Fulford contacted
the IRS on Mr. Williams’s behalf, at which point she fraudulently represented herself to be Mr.
Williams’s wife - Peggy Williams. On or about October 2012, Ms. Fulford provided the IRS
with a Form 8821 -— Tax Information Authorization. The Form 8821 authorized Ms. Fulford to
inspect and/or receive Mr. Williams’s confidential information for the periods listed, which
included the 2010 audit. During the course of Ms. Fulford’s discussions with the IRS, Ms.
Fulford consistently maintained that she had substantiation for all deductions on Mr. Williams’s
tax return, but consistently failed to supply them. On or about December 2012, Ms. Fulford
abruptly ceased communications with the IRS.

15. Due to Ms. Fulford’s failure to supply the IRS with substantiation for
approximately $782,983.00 of deductions taken on Mr. Williams’s 2010 personal income tax
return, the IRS disallowed such deductions and assessed a tax deficiency and related penalty of
approximately $375,000.00 for the tax year 2010. See the attached IRS correspondence attached
hereto as Exhibit “A”. On or about July 2013, the IRS closed the 2010 audit and sent the file to
the IRS Collections Department. Additionally, and contrary to the agreement between the
parties, Defendants failed to file a tax return for Mr. Williams for 2011 and 2012. In order to
potentially settle the 2010 deficiency and file accurate returns for 2011 and 2012, Plaintiffs must
respond to the IRS with accurate, verifiable information about their financial history before the
end of this year.

16. In addition to the IRS matter, Plaintiffs are completely dependent on Ms. Fulford
to provide a monthly stipend of money to pay even the most basic living expenses. Such stipend
is paid irregularly, from inconsistent sources, and in unpredictable amounts. The stipend has

been previously distributed to Plaintiffs in the form of a wire transfer from Defendants’ Sun

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Trust accounts, a personal check from Ms. Fulford’s personal checking account, or a cashier’s
check.

17. On or about November 6, 2013, Plaintiffs’ counsel contacted Ms. Fulford via
telephone to discuss the 2010 audit and Plaintiffs’ finances. During that telephone conference,
Ms. Fulford represented that she would provide Plaintiffs’ counsel with copies of all of Mr.
Williams’s financial records, including all information related to the history of Mr. Williams’s
past and current investments. As of the filing of this Complaint, the only documents that Ms.
Fulford has supplied to Plaintiffs or Plaintiffs’ counsel are ten (10) months of bank statements
from the bank account of the Ricky Williams Foundation, a non-profit organization wholly
unrelated to Plaintiffs’ personal financial assets. Additionally, during the November 6 telephone
conference, Ms. Fulford represented that Plaintiffs’ sole asset was a 1.9 million dollar investment
in a private equity fund named Premier Financial (the “Private Equity Investment”). Ms. Fulford
represented that the Private Equity Investment was made in 2011 and did not allow for the funds
to be removed prior to 2017. Plaintiffs have been unable to verify the existence of the Private
Equity Investment or the existence of any private equity fund with the name Premier Financial.

V. CAUSES OF ACTION

Theft Liability Act
18. Plaintiffs hereby incorporate herein paragraphs 1 through 17 by reference.

19. Plaintiffs had a possessory interest in their financial assets. Defendants
unlawfully appropriated said assets in violation of Texas Penal Code § 31.03. The unlawful
appropriation was made with the intent to deprive Plaintiffs of their financial assets. As a result

thereof, Plaintiffs sustained damages totaling approximately two to four million dollars.

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20. Therefore, Plaintiffs are entitled to recover from Defendants under the Texas
Theft Liability Act, Tex. Civ. Prac. & Rem. Code § 134.001, et seg. Defendants are liable to
Plaintiffs in the amount of approximately two to four million dollars. In addition and pursuant to
Tex. Civ. Prac. & Rem. Code §§ 41.0008 and 134.005(b), Plaintiffs are entitled to exemplary
damages, pre and post judgment interest, courts costs and their reasonable and necessary

attorneys’ fees.

Breach of Contract

21. Plaintiffs hereby incorporate herein paragraphs 1 through 20 by reference.

22. Mr. Williams formed a valid and enforceable oral contract with Defendants in
which Defendants agreed to manage Plaintiffs’ financial assets. Defendants breached the
contract by unlawfully appropriating Plaintiffs’ financial assets and failing to provide Plaintiffs
with financial information associated with their financial assets. Defendants’ breach caused

Plaintiffs to sustain damages totaling approximately two to four million dollars.

23. Therefore, Plaintiffs are entitled to recover from Defendants for breach of
contract. Defendants are liable to Plaintiffs in the amount of approximately two to four million
dollars. In addition and pursuant to Tex. Civ. Prac. & Rem. Code Ann. § 38.001, et seq.,
Plaintiffs are entitled to recover pre and post judgment interest, courts costs and reasonable and

necessary attorneys’ fees.

Breach of Fiduciary Duty
24. Plaintiffs hereby incorporate herein paragraphs 1 through 23 by reference.

25. Plaintiffs and Defendants had a fiduciary relationship. Defendants intentionally
breached their fiduciary relationship with Plaintiffs by failing to provide the IRS with adequate

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information, unlawfully misappropriating Plaintiffs’ financial assets and failing to fully and
fairly disclose all important information to Plaintiffs concerning their financial assets.
Defendants’ breach resulted in both an injury to Plaintiffs and a benefit to Defendants.
Defendants’ breach caused Plaintiffs to sustain damages totaling approximately two to four

million dollars.

26. Therefore, Plaintiffs are entitled to recover from Defendants for breach of
fiduciary duty. Defendants are liable to Plaintiffs for approximately two to four million dollars
in actual damages. In addition, Plaintiffs are entitled to recover exemplary damages, pre and

post judgment interest, and courts costs.

Conditions Precedent

27. All conditions precedent to Plaintiffs claim for relef either have been performed,

waived, excused, or have occurred.

VI. APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

28. Plaintiff hereby incorporates herein paragraphs 1 through 28 by reference.

29. Plaintiffs and Plaintiffs’ counsel have repeatedly requested that Defendants fully
disclose the current state of Plaintiffs’ assets. Defendants have failed to provide any verifiable
information as to said assets. Additionally, Plaintiffs have discovered that some amount of said
assets have been unlawfully misappropriated by Defendants. Plaintiffs have no adequate remedy
at law for the injuries described above. Specifically, Plaintiffs, as a result of Defendants refusal
to provide verifiable information, have no control over and no knowledge of the current state
and/or location of their assets. Furthermore, Plaintiffs have no way of providing the IRS with

accurate information as to the Plaintiffs’ tax deficiency and no way of protecting their assets
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from further misappropriation. Plaintiffs must respond to the IRS regarding their deficiency by
the end of 2013.

30. _‘ Plaintiffs are entitled to a temporary restraining order restraining Defendants from
causing Plaintiffs’ assets to be moved, transferred, disposed of or used in any way. Additionally,
Plaintiffs request that the Court order Defendants to immediately provide Plaintiffs with a full
listing of all accounts that contain Plaintiffs’ assets and documentary substantiation for Plaintiff's
2010 tax deductions, so that Plaintiffs can respond to the IRS about their deficiency before the
end of this year. Without a temporary restraining order, Plaintiffs will suffer immediate and
irreparable injury and potentially deprived of their assets.

31. _—_‘It is essential that the Court act immediately, prior to notice on Defendants and a
hearing on the matter, because Plaintiffs believe that Defendants may currently be attempting to
further misappropriate Plaintiffs assets and because the IRS requires a response concerning
Plaintiffs’ 2010 deductions by the end of this year. Without the entry of an immediate and
temporary restraining order, Plaintiffs’ assets may be lost before the Court will have an
opportunity to conduct a full hearing on this matter.

32. Plaintiffs are willing to post a bond in an amount that the Court considers proper
to pay the costs and damages sustained by Defendants should they be found to have been
wrongfully enjoined or restrained.

33. Plaintiffs ask the Court to set its application for preliminary injunction for a
hearing and, after hearing, issue said preliminary injunction.

VII. PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the Court

enter a Judgment declaring and/or including the following:
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a. A temporary restraining order issued, without notice to Defendants, which:

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Restrains Defendants, their agents, servants, and employees from moving,
transferring, withdrawing, disposing of or using Plaintiffs’ assets in any

way;

Orders Defendants to immediately provide Plaintiffs with a full listing of

Plaintiffs’ assets;

Orders Defendants to immediately provide documentary substantiation for

Plaintiffs’ 2010 deductions;

b. A preliminary injunction, after notice to Defendants and an evidentiary hearing,
that restrains Defendants, their agents, servants, and employees from moving,
transferring, withdrawing, disposing of or using Plaintiffs’ assets in any way; and

Cc. Judgment entered in favor of Plaintiffs and against Defendants, awarding
Plaintiffs:

i.
ii.
ili.
iv.
v.
Vi.

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Actual damages;
Exemplary damages

Pre-judgment and post-judgment interest on the sums due;

Attorneys’ fees;
Costs of court; and

Such other and further relief to which Plaintiffs may be entitled.

Respectfully submitted,

CRADY, JEWETT & MCCULLEY, LLP

By: /s/ Carlton D. Wilde, Jr.

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

Errick Lynn Williams and
Kristin Barnes Williams,

Plaintiff,
Civil Action No.
v.

Peggy Fulford, a/k/a Peggy Williams,
a/k/a Peggy King, a/k/a Peggy

Ann Berard and

King Management Group and
Associates, LLC

ORAL ARGUMENT REQUESTED

CQ) GR UG LN OP I GP Kf) MP LP? SF LF LP Fa

Defendant.

_ VERIFICATION
THE STATE OF TEXAS §
COUNTY OF TRAVIS §

BEFORE ME, the undersigned Notary Public, on this day personally appeared Errick
Lynn Williams, who is personally known to me, and after first being duly swom by me
according to law, upon his oath said that he, Plaintiff in the above referenced matter, has read the
above and foregoing Verified Original Complaint And Application For Temporary Restraining
Order and Preliminary Injunction, and that every statement contained therein is true and correct
and based on his personal knowledge, and that the Complaint is not groundless or brought in bad
faith or for purposes of harassment.

Orne Ly nin Willams ik

SUBSCRIBED AND SWORN TO before me by on this the “day of
"Deco \o0G 2013, to certify which witness my hand and official seal.

JAN ALLGOOD Notary Public in and for the State of Texas
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06-15-2014 }

 

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CERTIFICATION OF EFFORTS TO GIVE NOTICE

I certify that diligent attempts to notify Defendants against whom ex parte relief is sought
have been unsuccessful and the circumstances do not permit additional efforts to give notice.

By: /s/ Carlton D. Wilde, Jr.

 

 

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